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"vera ceglia" <ceglia@adelphia.net>
page 1 of 2 for Streetfax contract w mark
March 3, 2004 10:37 AM


Hi Jim, Hope all is well, I am at 727 490 5751 when your ready. Ill send page two next I should be here for the next hour. Paul




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March 3, 2004 10:39 AM




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